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EX. 11D MPS PHOTOGRAPHS / *updated Apr 19, 2024

MPS726 112, photo 222

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EX. 11D MPS894-CLIP VIDEO SCREENSHOTS

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EX. 11D MPS894-CLIP VIDEO SCREENSHOTS

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“ppr = Redacted to obscure the face of an individual who was a minor at the time.
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EX. 11D MPS894-CLIP VIDEO SCREENSHOTS

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EX. 11D MPS894-CLIP VIDEO SCREENSHOTS

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EX. 11D MPS894-CLIP VIDEO SCREENSHOTS

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EX. 11D MPS PHOTOGRAPHS

MPS document 726, photo 305 at p.150

*ppr = Redacted to obscure the face of an individual who was a minor at the time.
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EX. 11D MPS PHOTOGRAPHS

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MPS document 726, photo 715 at p.312

“ppr = Redacted to obscure the face of an individual who was a minor at the time.
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EX. 11D MPS PHOTOGRAPHS

MPS document 726, photo 298 at p.147

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EX. 11D MPS PHOTOGRAPHS

MPS document 726, photo 36 at p.22

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*ppr = Redacted to obscure the face of an individual who was a minor at the time.
